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iN THE UNITED STATES DISTR|CT COURT FOR THE
NORTHERN D|STRICT OF |LLlNOtS

 

Robert Bosch LLC,
Plaintitf,

V- Civl| Action No. 10 CV 1437

Old World lndustrles, lnc.

Defendant.

 

 

STtPULATiON OF D|SMlSSAL AND m-} ORDER

WHEREAS, Robert Bosch LLC (“BOSCH”) instituted this patent-infringement action
against Old Wprld lnduetries, |nc. ("OWl"), and

WHEREAS, the Partiee have entered into a sett§ement agreement to resolve this action,
with an effective date of october 21, 2910;

THEREFORE. BOSCH and OWI hereby stipulate to the dismissal of this action with
prejudice subject to this Court’s retention of jurisdiction to enforce the terms _01' the settlement

agreement each Party to bear its own costs and attomeys' fees.

A/v\/Ji»v»~ée‘~ /;LI pso/o

 

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